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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


JOHN DOE,                                     : Civil Action No. 2:17-CV-01574
                                              :
                  Plaintiff,                  :
                                              : Judge Mark R. Hornak
         v.                                   :
                                              :
CARNEGIE MELLON UNIVERSITY,                   :
                                              :
                  Defendant.                  :
                                              :


   CONSENT MOTION FOR AN EXTENSION OF TIME TO SERVE COMPLAINT

         Plaintiff John Doe (“John”), by the undersigned, files this Consent Motion for an

Extension of Time to Serve Complaint, stating, as follows:

         1.       John initiated the instant action on December 4, 2017, by filing a Verified

Complaint, bringing claims against Defendant Carnegie Mellon University (“CMU”). See,

Docket Entry 1.

         2.       On February 27, 2018, due to the ongoing nature of the matters underlying John’s

claims, upon agreement of the parties, Plaintiff filed a Consent Motion for an Extension of Time

to Serve Complaint. See, Docket Entry 17.

         3.       The Court granted that Motion, making the deadline to serve the Verified

Complaint May 4, 2018. See, Docket Entry 18.

         4.       Recently, on April 25, 2018, counsel for John, Timothy J. Lyon, withdrew as

counsel of record, with David V. Weicht and Erica M. Pietranton of Leech Tishman Fuscaldo &

Lampl, LLC substituting and appearing as new counsel of record for John. See, Docket Entries

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       5.       New counsel for John and counsel for CMU have communicated and agree that

an additional thirty day extension to serve the Verified Complaint would be prudent.

       6.       This Court may extend the time for service of a complaint if the plaintiff shows

good cause for doing do. See, Fed.R.Civ.P.4(m).

       7.       John thus respectfully moves this Court to grant this Motion and to extend the

time for John to serve the Verified Complaint for a period of thirty days.




Dated: May 3, 2018                           Respectfully submitted,

                                             LEECH TISHMAN FUSCALDO & LAMPL, LLC
                                             /s/ David V. Weicht
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